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  On February 16, 2024, Plaintiff filed a Complaint and a Request to Proceed In Forma Pauperis. (ECF Nos.
  1, 3.) Plaintiff alleges that Defendants ignored her claims of misconduct by attorneys or government
  employees. (ECF No. 1 at 5.) The Defendants are the State of California, the Los Angeles Board of
  Supervisors, and the Los Angeles City Attorney’s Office. (ECF No. 1 at 1.) Her claims remain pending in
  an enforcement proceeding with the Los Angeles City Attorney’s Office, which allegedly has approved her
  claims but has been “stalling” the case since 2023. (Id. at 5.) Plaintiff seeks $200,000 in damages. (ECF No.
  1-1 at 1.)

  “A party invoking the federal court’s jurisdiction has the burden of proving the actual existence of subject
  matter jurisdiction.” Thompson v. McCombe, 99 F.3d 352, 353 (9th Cir. 1996) (per curiam). For the
  following reasons, Plaintiff has not established the jurisdiction of the Court.

  First, one of the Defendants, the State of California, has sovereign immunity from suit under the Eleventh
  Amendment. See Munoz v. Superior Court of Los Angeles County, 91 F.4th 977, 981 (9th Cir. 2024)
  (“Eleventh Amendment immunity is a threshold jurisdictional issue.”). To the extent that Plaintiff suggests
  that she is suing the State Bar of California (ECF No. 1 at 5), the State Bar has immunity under the Eleventh
  Amendment. Kohn v. State Bar of California, 87 F.4th 1021, 1024 (9th Cir. 2023). “Longstanding Supreme
  Court precedent has interpreted this Amendment to immunize states from suit in federal court by citizens
  and noncitizens alike.” Id. at 1025.

  Second, the Court must abstain as to the remaining Defendants, local governmental entities, because state
  proceedings are pending. In Younger v. Harris, 410 U.S. 37 (1971), the Supreme Court “espouse[d] a strong
  federal policy against federal-court interference with pending state judicial proceedings.” Middlesex County
  Ethics Comm. v. Garden State Bar Ass’n., 457 U.S. 423, 431 (1982); see also Washington v. Los Angeles
  County Sheriff’s Department, 833 F.3d 1048, 1057-58 (9th Cir. 2016) (treating Younger abstention as a
  dismissal for lack of jurisdiction). Here, the Court has no authority to grant Plaintiff’s apparent request to
  order the City Attorney to hasten proceedings. See H.D. ex rel. Gordon v. Koppel, 203 F.3d 610, 613-14
  (9th Cir. 2000) (“Plaintiffs desire wholesale federal intervention into an ongoing state . . . dispute. . . . This is
  not the proper business of the federal judiciary.”). By her own account, her claims remain pending in an
  action by the City Attorney. (ECF No. 1 at 5.) The Court therefore must abstain. See Monster Beverage
  Corp. v. Herrera, 650 F. App’x 344, 345-46 (9th Cir. 2016) (pending proceeding by the City Attorney
  required Younger abstention).

  For these reasons, the Complaint is dismissed.

  Finally, leave to amend is not warranted. Amendment would be futile while a state proceeding is ongoing.
  See Herships v. Newsom, 2019 WL 5309193, at *3 (E.D. Cal. Oct. 21, 2019) (holding that pleading
  deficiencies based on Younger could not be cured by amendment); Clark v. Superior Court of California,
  2019 WL 1114881, at *5 (S.D. Cal. Mar. 11, 2019) (holding that amendment would be futile where a federal
  court was required to abstain under Younger). Thus, the Complaint is dismissed without leave to amend,
  and the action is dismissed without prejudice.




                                                                                             (attach additional pages if necessary)

CV-73 (07/22)             ORDER ON REQUEST TO PROCEED IN FORMA PAUPERIS (NON-PRISONER CASE)
